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 2022 www.safehavensinternational.org




  Part 1 Team Leader: Latricia Gittens                                            Date:   05/17/2021
      Name of School: The Academy San Francisco @ McAteer
       School System: San Francisco Unified School District
   Address of School: 555 Portola Drive, San Francisco, CA 94131


Observation for Vaping Mitigation & Prevention
Latricia Gittens
05/17/2021


1. Signage and posters
                           Question                  Answer                        Comments
 1.1.1 Are there any signage and/or posters in the     No      There are no signs and/or posters in the school
 school regarding an anonymous reporting mechanism             regarding an anonymous reporting mechanism.
 so students can report concerns about vaping?




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                      Question                            Answer                       Comments




 1.1.2 Other notes/comments



2. Camera
 1.2.1 If the school has surveillance cameras, please     The school has about 82 cameras, however Mr. Markwith could
 take photos of camera feeds on computer screen to        not bring up all the cameras because he forgot his password.
 determine the number of cameras at the school.           Mr. Markwith said that he is no longer the Principal at The
 (Clarification: The purpose of this is to help us more   Academy. He is the Director of School Emergency Planning,
 accurately determine how many cameras are in use and     Preparedness and Prevention. The administrators have access
 working at each school.)                                 to the cameras.




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 1.2.2 Other notes/comments                               Analysts recommends that they consider placing cameras in
                                                          known hotspots such as the stairwell area. Also, the
                                                          surveillance system be updated and upgraded.


3. Does the school have the following:
                       Question                           Answer                       Comments
 1.3.1 "Walking only" zones? (Clarification: A "Walking    No      The school does not have a “walking only” zones.
 Only zone" is a designated physical space/area where
 students are allowed to move through but prohibited
 from stopping, gathering or loitering during specific
 time periods.)

 1.3.2 Designation of "No Go" zones during certain         Yes     The canyon is understood to be the “no go” zones.
 times of day? (Clarification: A "No Go zone" is a
 designated physical space/area where students are
 not allowed to enter or pass through during specific
 time frames.)




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                      Question                          Answer                       Comments




 1.3.3 Student restrooms with doors removed to create    No      All students restrooms had doors on them.
 improved supervision?




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                      Question                      Answer                      Comments




 1.3.4 Restrooms with a "lazy S" entryway?           Yes     There were some restrooms with a “lazy S“ entryway
                                                             and some that were not.




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                     Question                       Answer      Comments




 1.3.5 Other notes/comments



4. Magnetic holdbacks
                     Question                       Answer      Comments


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                        Question                           Answer                        Comments
 1.4.1 Are there any stairwell doors that do not have       Yes     Stairwells are all open concept.
 magnetic holdback devices which allow the doors to
 be propped open to increase natural surveillance for
 the stairwell areas while still in compliance with fire
 code?




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                       Question                            Answer                        Comments
 1.4.2 Are there any hallway fire doors that do not have    No      All of the hallway fire doors have the magnetic
 magnetic holdback devices which allow the doors to                 holdback devices.
 be propped open to increase natural surveillance for
 hallway areas while still in compliance with fire code?




 1.4.3 Other notes/comments


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5. "Red flag" locations
                        Question                            Answer                       Comments
 1.5.1 Did you find any unusual "red flag" locations that    Yes     The stairwell areas have no cameras. Also, there are
 your experience and training indicate that we should                several areas in the building that have hiding spots
 be aware of? If yes, please describe. (Clarification: In            with no camera coverage. Analysts recommends they
 this usage, red flag locations are those unusual or                 install cameras in those areas.
 unique areas where the supervision of students can
 be difficult)




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                     Question                      Answer                        Comments




 1.5.2 Other notes/comments                        There are many areas where the supervision of students can be
                                                   difficult because on the camera placement and because of how
                                                   big and open the campus is.


6. In addition to areas identified by administrators, based on your experience, did you find any
other locations where students are likely to relocate?
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                    Question                       Answer                       Comments
 1.6.1 Restrooms                                     Yes     Some restrooms have single use restrooms and some
                                                             do not.




 1.6.2 Hallways                                      No




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                    Question                       Answer                        Comments




 1.6.3 Stairwells                                    Yes     The school stairwells are not covered by cameras and
                                                             offers concealment. This should be noted when
                                                             planning for supervision.




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                       Question                          Answer                       Comments




 1.6.4 Alcoves (Clarification: An alcove is a recessed    N/A     The school does not have an alcove.
 area adjoining another room or hallway/space that is
 not separated by doors or windows and may or may
 not have a lower ceiling height.)

 1.6.5 Classrooms                                         No



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                    Question                       Answer                        Comments




 1.6.6 Gymnasiums                                    Yes     The gymnasium has a basement with locker rooms
                                                             and a dance studio that are not covered by cameras.




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                     Question                      Answer                         Comments




 1.6.7 Auditoriums                                   Yes     The school’s auditorium has areas that is not covered
                                                             by cameras and offer concealment.




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                     Question                      Answer                         Comments




 1.6.8 Stage areas                                   Yes     The stage area in the auditorium has areas that are
                                                             not covered by cameras and offer concealment.




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                    Question                       Answer                         Comments




 1.6.9 Cafeteria                                     Yes     The students can leave the school for lunch and return
                                                             to class. This should be noted when planning for
                                                             supervision.




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                        Question                   Answer                        Comments




 1.6.10 Outdoor areas                                Yes     The school is so big and open therefore leaving many
                                                             areas not covered by cameras and lack of
                                                             supervision.




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                       Question                        Answer                        Comments




 1.6.11 Rooftop areas (Clarification: In this usage,    N/A     The school’s roof does not appear to be accessible.
 "rooftop areas" refer to rooftops, covered walkways
 and other elevated areas where students have
 attempted to vape by climbing to the areas.)




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                       Question                            Answer                        Comments
 1.6.12 Areas off of but close to school property during    Yes     There are areas like the dance studio in the gym, the
 school hours (Clarification: In this usage, these                  area outside around the school and the area where
 include areas just off school property such as vacant              they call the canyon located right on the school
 lots, business parking areas, city streets etc. where              property fence are known areas where students have
 students have been vaping.)                                        been caught vaping.




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                      Question                       Answer                         Comments
 1.6.13 Leaving school to vape at other off-campus    Yes     There is a park adjacent to the school and they call it
 locations while truant from school.                          the “Canyon” This area is a known area where
                                                              students have be caught vaping. A locked fence have
                                                              been put up, however, there is an area in the fence
                                                              where it has been cut for easy access.




 1.6.14 On school buses                               N/A     The students do not ride the school bus.


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                       Question                           Answer                        Comments
 1.6.15 Other                                             The school campus is open, leaving many areas not covered by
                                                          cameras and offer concealment.


7. Your observations
                        Question                          Answer                         Comments
 1.7.1 Did you identify any unique options for               No     Other than what I have mentioned in the report, the
 consideration for this school/district to enhance vape             analyst did not identify any unique options for
 prevention and mitigation measures based on your                   consideration for the school to enhance vape
 experience and training?                                           prevention and mitigation measures.

 1.7.2 Other notes/comments




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